Case 2:20-cv-12880-JMV-JSA Document 79-9 Filed 04/22/21 Page 1 of 20 PageID: 1500




  Exhibit B-VI
  Exoo-Hartley Tweets

  Incorporated by reference in FASC at ¶¶ 6, 104, 105




  Exhibit B-VI - Exoo-Hartley Tweets                                     Page | 1
Case 2:20-cv-12880-JMV-JSA Document 79-9 Filed 04/22/21 Page 2 of 20 PageID: 1501




  Exhibit B-VI - Exoo-Hartley Tweets                                     Page | 2
Case 2:20-cv-12880-JMV-JSA Document 79-9 Filed 04/22/21 Page 3 of 20 PageID: 1502




  Exhibit B-VI - Exoo-Hartley Tweets                                     Page | 3
Case 2:20-cv-12880-JMV-JSA Document 79-9 Filed 04/22/21 Page 4 of 20 PageID: 1503




  Exhibit B-VI - Exoo-Hartley Tweets                                     Page | 4
Case 2:20-cv-12880-JMV-JSA Document 79-9 Filed 04/22/21 Page 5 of 20 PageID: 1504




  Exhibit B-VI - Exoo-Hartley Tweets                                     Page | 5
Case 2:20-cv-12880-JMV-JSA Document 79-9 Filed 04/22/21 Page 6 of 20 PageID: 1505




  Exhibit B-VI - Exoo-Hartley Tweets                                     Page | 6
Case 2:20-cv-12880-JMV-JSA Document 79-9 Filed 04/22/21 Page 7 of 20 PageID: 1506




  Exhibit B-VI - Exoo-Hartley Tweets                                     Page | 7
Case 2:20-cv-12880-JMV-JSA Document 79-9 Filed 04/22/21 Page 8 of 20 PageID: 1507




  Exhibit B-VI - Exoo-Hartley Tweets                                     Page | 8
Case 2:20-cv-12880-JMV-JSA Document 79-9 Filed 04/22/21 Page 9 of 20 PageID: 1508




  Exhibit B-VI - Exoo-Hartley Tweets                                     Page | 9
Case 2:20-cv-12880-JMV-JSA Document 79-9 Filed 04/22/21 Page 10 of 20 PageID: 1509




  Exhibit B-VI - Exoo-Hartley Tweets                                     Page | 10
Case 2:20-cv-12880-JMV-JSA Document 79-9 Filed 04/22/21 Page 11 of 20 PageID: 1510




  Exhibit B-VI - Exoo-Hartley Tweets                                     Page | 11
Case 2:20-cv-12880-JMV-JSA Document 79-9 Filed 04/22/21 Page 12 of 20 PageID: 1511




  Exhibit B-VI - Exoo-Hartley Tweets                                     Page | 12
Case 2:20-cv-12880-JMV-JSA Document 79-9 Filed 04/22/21 Page 13 of 20 PageID: 1512




  Exhibit B-VI - Exoo-Hartley Tweets                                     Page | 13
Case 2:20-cv-12880-JMV-JSA Document 79-9 Filed 04/22/21 Page 14 of 20 PageID: 1513




  Exhibit B-VI - Exoo-Hartley Tweets                                     Page | 14
Case 2:20-cv-12880-JMV-JSA Document 79-9 Filed 04/22/21 Page 15 of 20 PageID: 1514




  Exhibit B-VI - Exoo-Hartley Tweets                                     Page | 15
Case 2:20-cv-12880-JMV-JSA Document 79-9 Filed 04/22/21 Page 16 of 20 PageID: 1515




  Exhibit B-VI - Exoo-Hartley Tweets                                     Page | 16
Case 2:20-cv-12880-JMV-JSA Document 79-9 Filed 04/22/21 Page 17 of 20 PageID: 1516




  Exhibit B-VI - Exoo-Hartley Tweets                                     Page | 17
Case 2:20-cv-12880-JMV-JSA Document 79-9 Filed 04/22/21 Page 18 of 20 PageID: 1517




  Exhibit B-VI - Exoo-Hartley Tweets                                     Page | 18
Case 2:20-cv-12880-JMV-JSA Document 79-9 Filed 04/22/21 Page 19 of 20 PageID: 1518




  Exhibit B-VI - Exoo-Hartley Tweets                                     Page | 19
Case 2:20-cv-12880-JMV-JSA Document 79-9 Filed 04/22/21 Page 20 of 20 PageID: 1519




  Exhibit B-VI - Exoo-Hartley Tweets                                     Page | 20
